       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 1 of 27




                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

TAKIA WALTON, DANYLLE                       )
MCHARDY, GEORGE DE LA PAZ JR.,              )
KEVIN JACOBS, and FEIONA DUPREE,            )
Individually, and on behalf of all others   )
similarly situated,                         )      CIVIL ACTION FILE NO.
                                            )      1:19-CV-4466-LMM
      Plaintiffs,                           )
                                            )
v.                                          )
                                            )
PUBLIX SUPER MARKETS, INC.,                 )
                                            )
      Defendant.                            )

           DEFENDANT’S RESPONSE IN OPPOSITION TO
      PLAINTIFFS’ MOTION FOR CONDITIONAL CERTIFICATION

      Plaintiffs in this Fair Labor Standards Act case are current and former Deli

and Bakery Department Managers for Publix Super Markets, Inc., an employee-

owned grocery store chain that for over twenty years has been named one of the

“100 Best Companies to Work For” by Fortune. After long careers having never

before complained about their salaried, management-level status, Plaintiffs now

claim that Publix misclassified their jobs as exempt from overtime regulations.

They ask this Court to approve notice to other allegedly similarly situated

managers across seven southeastern states stating that those, too, might be able to

join this suit.       Plaintiffs’ meandering collective definition and various
       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 2 of 27




amendments, however, moot their motion. Even if they don’t, the claims of opt-

in Plaintiff Jovanovich Roberts and the claims of any potential plaintiff who has

not worked for Publix in Georgia do not arise out of or relate to Publix’s conduct

or operations in Georgia. Coupled with Plaintiffs’ failure to prove the similarity

required for conditional certification of a collective, that jurisdictional defect

fatally undermines Plaintiffs’ motion.

I.    BACKGROUND

      This case is barely two months old and Plaintiffs have, as Publix noted in its

motion to dismiss, proposed at least six different definitions of a putative collective

(Docs. 1, 4, 9 (two definitions), 14, and 16). Their inability to define the collective

they ask this Court to recognize has led them to amend their motion for

conditional certification once (Doc. 17) and their complaint twice. (Docs. 4 and 26).

Critically, they amended their complaint—which Publix moved to dismiss

because of defects in the collective definition, among other reasons—after the

certification motion now before this Court. Whatever the scope of the proposed

collective, Plaintiffs look to litigate claims on its behalf related to Publix’s alleged




                                         -2-
       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 3 of 27




misclassification of collective members as exempt from the FLSA’s overtime

requirements. (Doc. 26 at 11).1

      A.     Publix Super Markets, Inc. – An Overview

      Publix is an employee-owned supermarket chain that operates 1,241 stores

across Georgia, Florida, Alabama, North Carolina, South Carolina, Tennessee, and

Virginia.      (Company       Overview      –   Facts    &    Figures,    available   at

https://corporate.publix.com/about-publix/company-overview/facts-figures)

(last visited on December 20, 2019 (“Company Overview”)). 187 of Publix’s

locations are in Georgia, while Florida holds 808, almost two-thirds of Publix’s

locations. (See Company Overview). Publix’s headquarters and principal place of

business are in Lakeland, Florida. (Decl. of Erin King at ¶ 4. attached as Ex. A).


1 Plaintiffs’ hither and yon collective definitions leave Publix in the dark as to the
precise scope of the collective Plaintiffs ask this Court to conditionally certify. This
response focuses on Bakery and Deli Managers—the only two positions worked
by the named and opt-in plaintiffs—because even that limited scope highlights the
futility of Plaintiffs’ certification motion.

 The presence of Assistant Department Managers in Plaintiffs’ proposed collective
definition(s) injects additional differences that justify declining to certify a
collective. (See Publix’s Motion to Dismiss, Doc. 29 at 16-19). After all, Assistant
Managers and Department Managers were never classified the same during the
relevant time period, and have different job duties. (See Doc. 29-1 at ¶¶ 12-15, 17-
18). The differences between Assistant Managers and the Department Managers
who supervise them are so great, in fact, that dismissal is the appropriate remedy,
not merely declining to certify a collective. (See Doc. 29).


                                         -3-
       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 4 of 27




      Generally, each Publix store contains, and contained during the relevant

time period, six departments, two of which are the Bakery and Deli Departments,

each of which has a manager.2 (Decl. of Jasmin Ovcina at ¶ 7, attached as Ex. B).

Publix’s store formats vary for many reasons. Geography, demography, and

market size all influence the size, layout, and stocked inventory at a given store.

(Decl. of Bruce Humphries at ¶ 9, attached as Ex. C). Those differences can change

how work within a store is performed. (Id. at ¶ 10). The influence also flows to

the way work is performed in individual store departments. (Id. at ¶ 10). Higher

sales volume, for instance, leads to more customer interactions, which in turn

requires department managers in high volume locations to devote more time to

managing Associates’ customer service skills than in lower volume stores. (Id. at

¶ 11). At bottom, despite the uniform delivery of customer service excellence, each

Publix store differs from its sister stores based on a variety of factors.

      B.     Different Stores and Departments Operate Differently and
             Different Managers Manage Differently

      How Bakery and Deli Departments operated from store to store during the

relevant time period varied significantly.     Higher sales volume stores naturally


2  On March 30, 2019, Publix reclassified all department managers, including
Bakery and Deli Managers, from exempt to non-exempt. (King Decl. at ¶ 13). A
few months later, named plaintiff Takia Walton was terminated for violating the
FLSA by depriving his employees of wages due. (Humphries Decl. at ¶ 5).

                                         -4-
       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 5 of 27




required that managers devote more attention to ensuring their Associates attend

to customer needs rapidly, while still following Publix’s operational requirements

for the department. (Humphries Decl. at ¶ 11). Higher sales volumes also

required more Associates to staff each department, which in turn required more

personnel management and less production assistance from managers. Compare

Decl. of Greg Switzer at ¶ 3, attached as Ex. D, with Decl. of Andrew McGee at ¶

3, attached as Ex. E). The nature of the departments created inter-departmental

variation, too.   In particular, the types of work necessary in a Bakery was

meticulous and involved processes that could generate, by their very nature, more

“production” hours than did the types of work done in the Deli. (Humphries Decl.

at ¶ 15). Deli Departments generally had more tasks to complete, including more

face-to-face customer interaction and on-demand requests, because of the hectic

nature of the department. (McGee Decl. at ¶ 11).

      The departments also varied during the relevant time period by products

offered. With different products came different processes, different oversight

requirements, and different ordering requirements. (Humphries Decl. at ¶ 14).

Regardless of store volume, Deli Departments tended to have three to four times

as many Associates, so staffing and labor management practices differed as

compared to Bakery Departments. (Id.).


                                      -5-
       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 6 of 27




      With that substantial amount of departmental variation, it is no surprise that

Bakery and Deli Department Manager positions differed as well. In one store,

department managers, prior to their reclassification in March 2019, had ample

authority in hiring, promotion, discipline, and termination decisions in their

department. (McGee Decl. at ¶ 14; King Decl. at ¶ 7). In another, the store manager

afforded the Bakery Manager more discretion than the Deli Manager because the

former demonstrated particularly astute judgment, or had more experience. (Decl.

of Diane Hernandez at ¶ 12, attached as Ex. F; see also McGee Decl. at ¶ 18).

Managers, of course, also differed in their management styles, which affected the

way they perform their jobs on a day-to-day basis. (See King Decl. at ¶ 18;

Hernandez Decl. at ¶ 16).

      To manage these abundant differences efficiently, Publix store managers

and district managers empowered those beneath them to perform adaptive

management. (Ovcina Decl. at ¶ 16-17). Department managers who wanted to

focus on training and developing associates beneath him or her, for example, were

allowed to do so. (Ovcina Decl. at ¶ 16). Managers were even allowed to develop

their own training protocols and curriculum that suit their particular store and

department. (Ovcina Decl. at ¶ 17).




                                       -6-
       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 7 of 27




      C.    The Named Plaintiffs Are Distinguishable

      Stemming from the store and department differences outlined above, the

named Plaintiffs are not similar as compared to each other, much less when

compared to the thousands of other potential members of their proposed

collective. Each worked in a different Publix location during the relevant time

period, and many worked at multiple locations, each of which differed in sales

volume, and geographic location. Some named Plaintiffs began working for

Publix in Florida and later transferred to Georgia locations, while others spent

their entire career in Georgia. Only one, George De La Paz, Jr., worked as a Deli

Department Manager, while the other four all worked as Bakery Managers. (See

Docs. 9-1 to 9-5). None of the named Plaintiffs worked as Assistant Department

Managers during the time relevant to this case. (See id.).

II.   ARGUMENT

      Plaintiffs’ Second Amended Complaint moots this motion. If this Court

reaches other issues, the motion still fails because Plaintiffs ask this Court to

conditionally certify a disparate collective that would irretrievably bog down these

proceedings for two reasons. First, this Court lacks personal jurisdiction over the

vast majority of the managers Plaintiffs seeks to include. Second, Plaintiffs’ self-




                                        -7-
       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 8 of 27




serving, boilerplate declarations—the only evidence offered to support

certification—fail to justify proceeding collectively.

      A.      The Operative Complaint Moots Plaintiffs’ Certification Motion

      Motions for conditional certification seek court approval for notice to be sent

to collective members whose membership is defined by an FLSA plaintiff’s

complaint.3    It follows that amending an FLSA complaint moots motions,



3  Under § 216(b), one or more employees may sue for alleged violations of
overtime regulations “for and in behalf of himself or themselves and other
employees similarly situated.” The phrase “similarly situated” has spawned a
two-stage procedural schematic—conditional certification and decertification—to
answer the question of who qualifies. Because the certification process is judge-
made, courts must conditionally certify a collective only “in appropriate cases.”
Hoffmann-La Roche, Inc. v. Sperling, 493 U.S. 165, 169 (1989); Grayson v. K Mart Corp.,
79 F.3d 1086, 1111 (11th Cir. 1996).

   At that first stage, Plaintiffs, not Publix, must establish that: (1) they are
“similarly situated” to the putative class members they seek to represent; and (2)
a sufficient number of those individuals wish to join this case. See Hipp v. Liberty
Nat’l Life Ins. Co., 252 F.3d 1208, 1219 (11th Cir. 2001); Dybach v. Fla. Dep’t of Corr.,
942 F.2d 1562, 1567-68 (11th Cir. 1991). Where enough record evidence clarifies
that notice is inappropriate, courts can refuse to conditionally certify a collective.
See, e.g., Brooks v. BellSouth Telecomms., Inc., No. 1:07-CV-3054-ODE, 2009 WL
10699685, at *7-8 (N.D. Ga. Feb. 10, 2009).

  Plaintiffs describe their burden as “very low,” and “particularly low” in this
circuit (Doc. 9 at 15-16), but in reality it is “low” only as compared to the burden
at decertification. See Webber v. Coast Dental, No. 8:12-cv-01505, 2013 WL 935772,
at *3 (M.D. Fla. Mar. 11, 2013) (“[C]onditional certification should ‘be exercised
with discretion and only in appropriate cases.’”) (citing Haynes v. Singer Co., Inc.,
696 F.2d 884 (11th Cir. 1983)). As this Court has explained, “[w]here plaintiffs seek

                                          -8-
       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 9 of 27




derivative of the proposed definition in the superseded pleading. See Meyer v.

Panera Bread Co., 344 F. Supp. 3d 193, 199 (D.D.C. 2018) (denying as moot motion

for conditional certification filed before complaint amendment); Donatti v. Charter

Commc’ns, L.L.C., No. 11-4166-CV-C-MJW, 2013 WL 3807302, at *2 (W.D. Mo. July

22, 2013). That’s all the more true where, as here, the amended pleading contains

multiple collective definitions such that neither a defendant nor the court can even

determine the scope of the collective.        Because Plaintiffs’ Second Amended

Complaint moots this motion, it should be denied.

      Even if the motion is not moot, properly scrutinizing it reveals: (1) a lack of

jurisdiction over about 85% of the claims in Plaintiffs’ putative collective, and (2)

a failure to show that the remaining 15% of all Deli Department and Bakery

Department Managers are similarly situated, that anyone working within one of

those roles was similarly situated to one another, or that any of the putative

collective members were subjected to an unlawful policy or procedure.

      B.     Any Collective that this Court Conditionally Certifies Cannot
             Include Employees from Outside Georgia

      As discussed in Publix’s Motion to Dismiss, this Court lacks personal

jurisdiction over the claims of Publix employees, like opt-in plaintiff Jovanovich


to send court-approved notice . . . courts should treat those requests with a higher
level of scrutiny.” Brooks, 2009 WL 10699685, at *5.

                                        -9-
       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 10 of 27




Roberts, who worked outside of Georgia. (Doc. 29 at 7). Anyone who opts into

this case is a party plaintiff who, like the named Plaintiffs, must establish personal

jurisdiction over Publix as to his or her claims. See Louis Vuitton Malletier, S.A. v.

Mosseri, 736 F.3d 1339, 1350 (11th Cir. 2013) (holding that plaintiffs bear the burden

of producing evidence to support jurisdiction). Neither Roberts nor any other

manager who lives in or worked outside of Georgia can do so. Including Roberts

and other out-of-Georgia managers in a conditionally certified collective would

thus violate Publix’s due process rights.

      This Court’s decision in Dennis v. IDT Corp., 343 F. Supp. 3d 1363 (N.D. Ga.

2018), bolsters this analysis. There, Erik Dennis pursued a Telephone Consumer

Protection Act class action under Rule 23, and IDT argued that Bristol-Myers Squibb

Co. v. Superior Ct. of Cali., San Francisco Cty., 137 S. Ct. 1773, 1781 (2017), barred

personal jurisdiction over claims of non-resident unnamed class members. Dennis,

343 F. Supp. 3d at 1364. Disagreeing, this Court reasoned that: (1) Rule 23’s due

process protections, (2) the impracticality of analyzing personal jurisdiction for

absent class members, and (3) the absence of federalism concerns justified

declining to extend Bristol-Myers. Dennis, 343 F. Supp. 3d at 1366-67.

      No rule-based due process protections exist here. As this Court recognized,

mass actions, like this putative FLSA collective, do not “ensure . . . a unitary


                                        - 10 -
       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 11 of 27




coherent claim” and thus afford no “unitary, coherent defense.” Id. at 1366. While

Publix’s motion to dismiss means that Publix has not yet answered the amended

complaint or asserted its various defenses, should Plaintiffs avoid dismissal at the

pleadings stage, Publix will assert defenses that would apply to some Plaintiffs

and opt-in plaintiffs, but possibly not all. Indeed, the various defenses that Publix

would assert are among the reasons why this Court should not permit this case to

proceed on a collective basis. See Anderson v. Cagle’s, Inc., 488 F.3d 945, 953 (11th

Cir. 2007) (noting that courts considering whether to decertify look at, among other

things, “the various defenses available to defendant[s] [that] appear to be

individual to each plaintiff”). What’s more, each opt-in plaintiff, even if “similarly

situated,” presents potential differences in claim proof, near certain differences in

damages proof (everyone worked different days and different numbers of hours),

and variations in fact-based defenses depending on job duties that vary from

person to person.

      Practical concerns like those in Dennis also do not exist. As “[i]n mass tort

actions,” in FLSA collectives “each plaintiff”--opt-ins and named plaintiffs--are

“real part[ies] in interest.” Dennis, 343 F. Supp. 3d at 1366; see also Mickles v.

Country Club Inc., 887 F.3d 1270, 1273 (11th Cir. 2018); Prickett v. DeKalb Cty., 349

F.3d 1294, 1297 (11th Cir. 2003) (holding that party plaintiffs have the status in


                                        - 11 -
       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 12 of 27




relation to claims in the suit as named plaintiffs). Because of the nature of the

claims here—alleged failure to pay overtime wages due—this Court need only ask

where an opt-in plaintiff worked for Publix and from where their pay originated

to determine if personal jurisdiction exists. That information, unlike an unknown

class member’s contacts with the forum, see Dennis, 343 F. Supp. 3d at 1366, is easily

ascertainable based on Publix’s own records. And even if it was not, the binary

nature of the inquiry here—the opt-in either worked and was paid in Georgia, or

not—eliminates the impracticality worry present when applying Bristol-Myers to

Rule 23 classes. See Dennis, 343 F. Supp. 3d at 1366.

      The presence or lack of “federalism concerns” that animated Bristol-Myers,

and partially underlay Dennis, has no bearing on the personal jurisdiction analysis

applicable in federal question mass actions like this case. Due process under the

Fifth Amendment requires a minimum contacts analysis just like the Fourteenth

Amendment requires in state court in federal question cases where the statute at

issue lacks a nationwide service provision. See Fed. R. Civ. P. 4(k); see also Doc. 29

at 12. Under the circumstances this case presents, then, a lack of federalism

concerns is neither here nor there when it comes to analyzing personal

jurisdiction—the analysis is the same regardless.




                                        - 12 -
       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 13 of 27




      Because this Court lacks personal jurisdiction over Roberts and other out-

of-state opt-ins, certifying a nationwide collective that includes those people

would violate Publix’s due process rights. See Bristol-Myers Squibb, 137 S. Ct. at

1780; see also id. (holding that the “primary concern” in the personal jurisdiction

inquiry is “the burden on the defendant”). Publix operates 1,241 stores across

seven southeastern states, only 187 of which are in Georgia. (See Company

Overview). That means this Court lacks personal jurisdiction over about 85% of

Publix’s Deli and Bakery Managers whom Plaintiffs want to represent as opt-in

party plaintiffs.

      Certifying a nationwide collective under those circumstances would create

practical problems, too. If this Court certifies the collective that Plaintiffs request,

about 85% of notice recipients would believe they could join this lawsuit, but not

realize that this Court lacks authority to adjudicate their potential claims. Any

opt-in consent forms filed by that 85% would each be subject to an immediate

motion to dismiss under Fed. R. Civ. P. 12(b)(2). Resolving a large number of such

motions piecemeal creates inefficiency, while declining certification now based on

Bristol-Myers precludes that ever arising.4 Regardless, due process demands that


4If Plaintiffs ever contest Publix’s assertion that a particular opt-in plaintiff neither
worked nor lived in Georgia, it will remain Plaintiffs’ burden—not Publix’s—to
present or seek evidence refuting such an assertion. See Louis Vuitton, 736 F.3d at

                                         - 13 -
       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 14 of 27




claims lacking connection to Publix’s Georgia operations not be artificially and

temporarily given life by sending their holders notice of this lawsuit. Plaintiffs’

conditional certification motion should thus be denied.

      C.     The Named Plaintiffs’ Self-Serving Declarations are Insufficient to
             Sustain Their Burden to Establish a Basis for Conditional
             Certification

      Courts in this district regularly certify FLSA collectives. But rarely do they

conditionally certify a nationwide collective or otherwise a broadly scoped class

when plaintiffs submit insufficient evidence on interest in the litigation, and

similarity among putative collective members. See Dybach, 942 F.2d 1562 (holding

that conditional certification requires plaintiffs to show (i) whether there are other

employees of the employer who wish to “opt-in;” and (ii) whether these

employees are “similarly situated” with respect to both their job duties and their

pay). Where, as here, the proposed collective is comprised of two groups distinct

from one another whose members are internally distinct too, certification is rarer

still. And where, as here, plaintiffs fail to identify an unlawful policy or practice

that binds otherwise dissimilar roles and employees together, certification

becomes a mirage.



1350. Satisfying that burden itself would lead to numerous individualized factual
determinations antithetical to collective proceedings.

                                        - 14 -
       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 15 of 27




             1.     The Declaration Testimony of the Named Plaintiffs is Insufficient

      Plaintiffs’ evidence here falls short because: (1) five declarations cannot

justify a potential collective of thousands, and (2) those declarations do not

establish similarity.

                    i.    The testimony of five cannot justify a collective of over
                          several thousand

      Plaintiffs represent about 0.5% of the Deli Managers in Georgia, and 2.1% of

Bakery Managers in Georgia. That already miniscule number falls further when

extrapolated out across Publix’s operations—Plaintiffs represent only 0.04% of

Publix’s Deli Managers, and 0.16% of its Bakery Managers.5

      That microscopic percentage of potential collective members cannot justify

conditional certification. In Linscheid v. Natus Medical Inc., for example, this Court

refused to conditionally certify a class where plaintiffs and one opt-in comprised

only 16% of the potential collective, and where plaintiffs submitted no other


5 These percentages are based on the number of Publix stores (1,241 total, 187 in
Georgia, 808 in Florida), each of which has a Deli and Bakery Department
Manager. (Ovcina Decl. at ¶ 7). Here again, Plaintiffs’ schizophrenic collective
definition makes precision impossible. The numbers outlined above only hold if
the collective is limited to Bakery and Deli Managers. If Plaintiffs’ broadest
definition is used, Plaintiffs become even more of a statistical anomaly, not a
significant showing of interest in this litigation. What’s more, attrition and a multi-
year relevant time period almost certainly make the actual size of the putative
collective even larger than 2,482 current Deli and Bakery Managers.



                                         - 15 -
       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 16 of 27




evidence to “show other employees wish[ed] to opt in.” No. 3:12-CV-67-TCB, 2012

WL 12861603, at *3 (N.D. Ga. Nov. 15, 2012) (Batten, J.). The paucity of evidence

is starker here. Plaintiffs comprise a much smaller percentage of the potential

collective, and like the Linscheid plaintiffs, they submit very little to show others

want to join this case.6 Balanced against that tepid demonstration are twelve

declarations from current Publix employees, all of whom disclaim any interest in

joining this suit.    Absent more of a showing that others want to join suit,

conditional certification is improper. See Dybach, 942 F.2d at 1567 (holding that

courts must find “that there are other employees of the department-employer who

desire to opt-in” before conditionally certifying a collective).

                     ii.   Plaintiffs’ testimony fails to establish similarity

      Whatever the evidence that others want to join, Plaintiffs also fail to

establish that they are similarly situated.       See 29 U.S.C. § 216(b).        To show

similarity, Plaintiffs present only one largely form declaration signed by seven

different people. (See, e.g., Doc. 9-2). That declaration, however, offers no basis to



6  Since filing suit, Plaintiffs have filed consents to join from Charles Bryant,
Michael Adesiyan, Kristie McNair, and Jovanovich Roberts. Their inclusion only
elevates the participation rate to about three percent of the potential collective.
Bryant and Adesiyan also submitted declarations, but even those offer nothing to
suggest that additional potential collective members want to join, much less a
meaningful percentage of the total possible group.

                                         - 16 -
       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 17 of 27




conclude that Plaintiffs have personal knowledge about the relevant duties of

thousands of Publix Associates in seven different states. It includes no statement

that its contents are based on the signatory’s personal knowledge. (See Docs. 9-1

to 9-7). It doesn’t even go so far as to state that the declarants “believe” their

assertions to be the case. Instead, the declaration trundles along, assertion after

assertion, declarant after declarant, ignorant of its inadequacy. On that basis

alone, the declaration, no matter how many people sign it, cannot support

conditional certification. See Brooks v. BellSouth Telecomms., Inc., No. 1:07-CV-3054-

ODE, 2009 WL 10699685, at *6 (N.D. Ga. Feb. 10, 2009) (“Even courts taking [a]

more ‘relaxed’ approach [to evidentiary standards at the conditional certification

stage] have required that affidavits or declarations be based on the affiant’s or

declarant’s personal knowledge.”).7

      The portions of the declarations that even arguably rest on personal

knowledge do nothing to support the similarity § 216(b) requires.             Several

paragraphs relate only to each plaintiff’s alleged hours worked and pay allegedly

foregone. See, e.g., Doc. 9-1 at ¶ 20). Even if true, those facts are, by definition,


7 At a minimum, paragraphs 6-7, the last two sentences of paragraph 8, the first
sentence of paragraph 9, paragraph 10, the first sentence of paragraph 16, and
paragraph 22 should not be considered because they are not based on Plaintiffs’
personal knowledge. Paragraphs 22 and 23 should also be disregarded because
they contain nothing but legal conclusions. (See, e.g., Doc. 9-1).

                                        - 17 -
       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 18 of 27




unique to each plaintiff. Others relate to Publix’s March 2019 reclassification of

department managers from exempt to non-exempt. Reclassification, however,

cannot alone undergird conditional certification. See Henry v. Express Scripts

Holding Co., No. 14-2979, 2015 WL 790581, at *1 (D.N.J. Feb. 24, 2015)

(“Reclassification, alone, does not evidence a FLSA violation.”); see, e.g., Doc. 9-1

at ¶¶ 9, 23. Still others speak to job duties for positions other than those the

declarant held. (See, e.g., Doc. 9-1 at ¶ 8 (a former Bakery Manager claiming to be

familiar with the duties of a Deli Manager)). Even considered as a whole, the

declaration simply says seven times that Publix is bad, Bakery and Deli Managers

work production more than they manage, and that those same managers received

the same training. (See generally Docs. 9-1 through 9-7). Even if true (most are not),

none of those facts establish similarity that justifies collective proceedings.

      D.     Plaintiffs Fail to Show a Common and Unlawful Policy or Plan That
             Binds the Proposed Collective

      Plaintiffs bear the burden of showing that they and their proposed collective

suffered under a common policy or plan that violates the FLSA. Grayson v. K Mart

Corp., 79 F.3d 1086, 1097 (11th Cir. 1996). Their failure to do so, like their failures

to show meaningful interest in this case and substantial similarity to the proposed

collective, counsels denying conditional certification.




                                        - 18 -
       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 19 of 27




      The focus in an exempt misclassification lawsuit like this case must be on

“actual job duties of those in that job category to determine whether they are

similarly situated.” In re Family Dollar FLSA Litig., 637 F.3d 508, 518 (4th Cir. 2011)

(citation omitted); see also Myers v. Hertz Corp., 624 F.3d 537, 555 (2d Cir. 2010)

(reasoning that mere existence of common exempt designation is insufficient to

show that employees are similarly situated). Merely being classified as exempt

does not violate the FLSA and, thus, cannot bind a collective. Indeed, the FLSA

contains several relevant exemptions that, if applicable, themselves justify

company-wide classification schemes. See 29 U.S.C. § 213(a)(1). There must be

something more, and that something more must be unlawful and common to the

entire proposed collective.

      Plaintiffs’ failure to aggregate more than seven or so voices creates problems

here yet again. Because they only offer testimony from, at best, three percent of

their proposed collective, it is “difficult if not impracticable” to determine if the

required similarity exists or if a common plan or policy affected more than eight

people. Saxton v. Title Max of Ala., Inc., 431 F. Supp. 2d 1185, 1188 (N.D. Ala. 2006).

Put another way, nothing in Plaintiffs’ declarations suggests that their speculation

about putative collective members at stores beyond those Plaintiffs worked at

should be afforded any weight. Publix’s declarations, discussed in more detail


                                        - 19 -
       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 20 of 27




below, strongly suggest that Plaintiffs’ experiences may have been unusual. In

any event, because it’s Plaintiffs’ burden to make the similarity showing, their

failure to show interest in joining this case undermines their wafer-thin effort to

show similarity. Id.

      E.     Bakery Department Managers Are Distinct From One Another, Deli
             Department Managers Are Distinct From One Another, And The
             Two Positions Are Different Roles

      All Bakery and Deli Department Managers were, during the relevant time

period, empowered by Publix to independently manage their departments of

subordinate employees. (See, e.g. Ovcina Decl. at ¶ 17; Humphries Decl. at ¶¶ 16-

23). That similarity of independence, however, does not spawn the similarity that

justifies collective proceedings. Both intra and inter-positional differences existed.

Those differences make conditional certification inappropriate in this case.

             1.    Bakery Department Managers are not similarly situated to one
                   another

      Like all department managers, Bakery Department Managers’ jobs differed

from store to store based on several factors. High volume stores necessarily had

more employees, including in the Bakery Department. (See Decl. of Deidre Harris

at ¶¶ 4-5, attached as Ex. G). More employees meant more time spent managing

Associates, whether that was coaching their performance, scheduling their hours,

conducting first tier interviews of new hires, or disciplining Associates when


                                        - 20 -
       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 21 of 27




appropriate. (Harris Decl. at ¶ 10; Humphries Decl. at ¶¶ 11, 14; Decl. of Dave

Tawney at ¶ 7, attached as Ex. H (sales volume variance and number of associates

managed “can directly impact how an individual Department Manager manages

his or her department”)).    Larger work forces also led to greater Associate

specialization, which itself required that Associates “be managed differently.”

(Tawney Decl. at ¶ 9).      Further, volume differences influenced customer

interactions—the more volume, the more interaction. (Humphries Decl. at ¶ 11).

Bakery Managers faced with greater customer numbers managed their Associates

differently (e.g., focusing more on customer service training) than managers at

slower stores who could devote more time to display planning, decorator training,

and operational efficiencies. (Humphries Decl. at ¶ 11).

       Store locations also differentiated Bakery Managers. Location, and the

associated customer demographics, influenced product selection at a given store,

which led to different inventory requirements for managers. (Switzer Decl. at ¶

10). Location-based clientele differences also created different customer demands,

which created different duties for customers. Upscale location customers, for

instance, required more time and demanded more than other areas. (Switzer Decl.

at ¶ 10).




                                      - 21 -
       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 22 of 27




      The tenure and experience of Associates constituted another Bakery

Manager differentiator. (Humphries Decl. at ¶ 12). More experienced Associates

needed less training and coaching, while greener bakers and decorators required

more managerial time and, “in some instances,” more discipline. (Humphries

Decl. at ¶ 12). In other words, a Bakery Manager at a high volume store with a

large team of rookies had radically different job duties than a Bakery Manager at

a smaller store with more experienced team members. The former thus was not

similarly situated to the latter.

             2.     Deli Department Managers Are Not Similarly Situated to One
                    Another

      Like their Bakery Department counterparts, Deli Department Managers

were not similarly situated to each other. The same factors that caused Bakeries

to differ from store to store also changed Deli Managers’ jobs. (See Decl. of Daniel

Gueguen at ¶ 5, attached as Ex. I). The same managerial tasks that increased in

the Bakery with more associates also increased in the Deli. (Decl. of Allison

McLeod at ¶¶ 2, 5, 7, attached as Ex. J). Like Bakery Department Managers, Deli

Department Managers were not similarly situated to each other.




                                       - 22 -
      Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 23 of 27




            3.     Bakery Department Managers Are Not Similarly Situated to Deli
                   Department Managers

      Just as differences existed within Deli and Bakery Department Manager

cohorts, so did they exist between the Deli and Bakery. Those differences began

with the products each presents to Publix customers. Deli Departments sold meats

and hot cooked food, while bakeries unsurprisingly sold baked goods. (McGee

Decl. ¶¶ 7, 10). Those different products in turn led to different customer purchase

patterns (Delis are far busier than Bakeries), different amounts of customer

interaction, different production needs, and different managerial processes,

oversight, and ordering requirements. (Humphries Decl. at ¶ 14).

      Those differences spawned other, different, requirements of managers. Deli

Department Managers had more tasks to complete than Bakery Managers and

spent more time addressing customer demands. (McGee Decl. at ¶ 11). Delis,

because of their greater sales volume, also required their managers to spend more

time managing inventory than did Bakeries. (Tawney Decl. at ¶ 7).

      Bakeries’ different production needs, and their smaller work forces, likewise

differentiated their managers from Deli Department Managers.           In the Deli,

managers spent more time training customer service, as well as safety protocols

imposed by various state and local health departments. (McGee Decl. at ¶ 9).




                                       - 23 -
       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 24 of 27




Bakery Managers, on the other hand, spent more time “overseeing meticulous and

involved processes.” (Humphries Decl. at ¶ 15).

      At bottom, it is a matter of common sense, confirmed by Publix’s evidence,

that a Bakery Department Manager performs different duties than a Deli

Department Manager.       Associates in one role should not be lumped into a

collective with Associates in the other, as those in one are not similarly situated to

those in the other with respect to the duties that they perform. Indeed, “[n]o two

managers are going to do things the same way.” (Hernandez Decl. at ¶ 16).

Conditional certification of Plaintiffs’ proposed collective thus is inappropriate.

      F.     Publix Objects to the Notice, its Contents, and the Notice
             Distribution Process That Plaintiff Proposes

      With the Motion, Plaintiffs propose a draft notice they would like to send to

their proposed collective. Plaintiffs ask this Court to require that Publix produce

to them, for each putative collective member: name, job title, address, email

address, telephone number, dates of employment, location of employment, date

of birth, and the last four digits of their Social Security numbers. They propose to

use that information to solicit involvement in this case.

      Problems abound with what Plaintiffs propose. Publix objects to, among

other things, the vague substance of the notice, the confusion it would cause as




                                        - 24 -
       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 25 of 27




drafted, and the means by which Plaintiffs would distribute the notice, namely by

email rather than simply by the preferred method of U.S. Mail. Publix also objects

to Plaintiffs harassing potential class members, without restriction, by email, calls

to their homes, calls to their cell phones, and perhaps other means. To resolve

these objections, Publix requests that, in the event this Court conditionally certifies

an FLSA collective of any scope, the parties be given twenty-one days to confer

about and present, if possible, a jointly proposed notice and notice distribution

process, after which appropriately limited contact information for the class that

this Court defines would be due for exchange within thirty days.

III.   CONCLUSION

       For these reasons—particularly because this Court lacks personal

jurisdiction over Publix as to the claims of about 85% of the proposed collective

members—Plaintiffs’ Motion for Conditional Certification should be denied. If

the Court grants the Motion, Publix asks the Court to direct the parties to confer

and submit a joint proposed notice and consent form.




                                        - 25 -
      Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 26 of 27




Date: December 20, 2019             Respectfully submitted,

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                                   - 26 -
       Case 1:19-cv-04466-LMM Document 32 Filed 12/20/19 Page 27 of 27




                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

TAKIA WALTON, DANYLLE                              )
MCHARDY, GEORGE DE LA PAZ JR.,                     )
KEVIN JACOBS, and FEIONA DUPREE,                   )
Individually, and on behalf of all others          )
similarly situated,                                )    CIVIL ACTION FILE NO.
                                                   )    1:19-CV-4466-LMM
      Plaintiffs,                                  )
                                                   )
v.                                                 )
                                                   )
PUBLIX SUPER MARKETS, INC.,                        )
                                                   )
      Defendant.                                   )

                            CERTIFICATE OF SERVICE

      I certify that on December 20, 2019, I electronically filed DEFENDANT’S

RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CONDITIONAL

CERTIFICATION using the CM/ECF system, which will automatically send email

notification of this filing to all counsel of record.

                      LOCAL RULE 7.1(D) CERTIFICATION

      I certify that this response in opposition to Plaintiffs’ motion for conditional

certification has been prepared in Book Antiqua 13-point font as approved by

Local Rule 5.1(B).

                                             s/ Brett C. Bartlett
                                             Counsel for Defendant

                                          - 27 -
